Case 1:24-cv-01355-JDW   Document 12-9   Filed 03/03/25   Page 1 of 3 PageID #: 1000




                             EXHIBIT 9
Case 1:24-cv-01355-JDW               Document 12-9     Filed 03/03/25     Page 2 of 3 PageID #: 1001




               IN THE UNITED STATES PATENT AND TRADEMARK OFFICE

         Inventor(s): Jason Felix et al.

         Serial No.: 17/119,945
                                                               Group Art Unit: 3792
         Patent No. 11,051,743
                                                               Examiner: Manuel, George C.
         Filed: December 11, 2020

         Title: Electrocardiography Patch

         Attorney Docket No.: 127.2029.US.CON


     5                                 STATUTORY DISCLAIMER
                                UNDER 35 U.S.C. 253(a) and 37 C.F.R. § 1.321(a)

         Commissioner for Patents
         P.O. Box 1450
    10   Alexandria, VA 22313-1450

         Commissioner:

         Bardy Diagnostics, Inc. is the assignee and has complete ownership of U.S. Patent
         No. 11,051,743, as evidenced by the assignment recorded at reel/frame
    15   033701/0738.


         Bardy Diagnostics, Inc., through its attorney of record, hereby disclaims Claims 1-
         10 in U.S. Patent No. 11,051,743 (the “’743 patent”). For the avoidance of doubt,
         Claims 11-20 remain standing in the '743 patent.
    20
         The required fee, as set forth in 37 C.F.R. § 1.20(d), is submitted herewith.
         In accordance with 37 C.F.R. § 1.321(a), Patentee respectfully requests that this
         disclaimer be duly recorded.




         Statutory Disclaimer                            -1-
                                                                                      Bardy Ex. 2003
                                                                                           Page 1 of 2

                                                                                Vital Connect v. Bardy Diagnostics

                                                                                IPR2023-00381
Case 1:24-cv-01355-JDW          Document 12-9   Filed 03/03/25   Page 3 of 3 PageID #: 1002




                                                   Respectfully submitted,


         Dated: April 21, 2023                  By: _/Krista A. Wittman/____________
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         Statutory Disclaimer                    -2-




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